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                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
                                            1301 Clay Street
                                           Oakland, CA 94612
                                        ___________________
                                          www.cand.uscourts.gov

Susan Y. Soong                                                               GENERAL COURT NUMBER
CLERK OF COURT                                                                        510-637-3530

                                              May 6, 2019
Rebecca Ann Falk
U.S. Attorney's Office
450 Golden Gate Avenue, 11th Floor
San Francisco, CA 94102


Re:    Center for Media Justice, et al. v. Federal Bureau of Investigation, et al
       Case Number:4:19-cv-01465-DMR


Dear Counsel:


        This matter has been randomly assigned to United States Magistrate Judge Donna M. Ryu for
all purposes including trial.
        The magistrate judges of this district have been designated to conduct any and all proceedings
in a civil case including a jury or nonjury trial and to order the entry of a final judgment, upon the
consent of all parties.
         A reminder to file either a consent form or a declination form to proceed before a United States
Magistrate Judge was sent to Defendants on April 19, 2019. A review of our records discloses that the
Consent or Declination to Magistrate Judge Jurisdiction has not been filed in this case. Defendants are
requested to complete the attached form documenting either consent or request for reassignment and
e-file it with the Court by May 20, 2019. Please note that any party is free to withhold consent to
proceed before a magistrate judge without adverse substantive consequences. This form can be found
on the Court’s website at www.cand.uscourts.gov.


                                            Susan Y. Soong
                                            Clerk, United States District Court




                                            By
                                            Ivy Lerma Garcia, Deputy Clerk to the
                                            Honorable DONNA M. RYU
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                                   3                                       UNITED STATES DISTRICT COURT

                                   4                                      NORTHERN DISTRICT OF CALIFORNIA

                                   5

                                   6     CENTER FOR MEDIA JUSTICE, et al.,                     Case No.4:19-cv-01465-DMR
                                                            Plaintiffs,
                                   7
                                                                                               CONSENT OR DECLINATION
                                                     v.
                                   8                                                           TO MAGISTRATE JUDGE
                                         FEDERAL BUREAU OF                                     JURISDICTION
                                   9
                                         INVESTIGATION, et al,
                                  10                        Defendants.
                                  11           INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you
                                  12   (if you are the party) or the party you represent (if you are an attorney in the case) choose(s) to
Northern District of California




                                       consent or decline magistrate judge jurisdiction in this matter. Sign this form below your
 United States District Court




                                  13   selection.
                                  14           ( )        Consent to Magistrate Judge Jurisdiction
                                  15                      In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to
                                  16   have a United States magistrate judge conduct all further proceedings in this case, including trial
                                  17   and entry of final judgment. I understand that appeal from the judgment shall be taken directly to
                                  18   the United States Court of Appeals for the Ninth Circuit.
                                  19                      OR
                                  20           ( )        Decline Magistrate Judge Jurisdiction
                                  21                      In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United
                                  22   States magistrate judge conduct all further proceedings in this case and I hereby request that this
                                  23   case be reassigned to a United States district judge.
                                  24
                                       DATE:                                                   NAME:
                                  25                                                           COUNSEL FOR:
                                                                                               (OR “PRO SE:)
                                  26

                                  27                                                           Signature

                                  28
